      Case 2:21-cv-00948-KWR-KRS Document 67 Filed 06/24/22 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

DEREK RATCLIFF,

               Plaintiff,

v.                                                                  No. 2:21-cv-948 KWR/KRS

WALGREENS,

               Defendant.

        ORDER GRANTING UNOPPOSED MOTION TO EXTEND DEADLINES

       THIS MATTER is before the Court on Plaintiff’s Unopposed Motion to Extend

Plaintiff’s Response Brief Deadline and Certain Pretrial Deadlines, (Doc. 66), filed June 23,

2022. Plaintiff asks for an extension to file a response to Defendant’s Second Motion to Compel,

(Doc. 51), and to extend the parties’ deadline for conducting depositions and filing dispositive

motions. Having considered the unopposed motion and record of the case, the Court GRANTS

the Motion to Extend. The parties’ deadlines are extended as follows:

       1.      Plaintiff’s deadline to respond to Defendant’s Second Motion to Compel, (Doc.

               51), is extended to July 5, 2022.

       2.      The deadline for conducting depositions in this action is extended to July 22,

               2022.

       3.      The deadline for dispositive motions is extended to August 31, 2022.

       IT IS SO ORDERED.




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                                             KEVIN R. SWEAZEA
                                             UNITED STATES MAGISTRATE JUDGE
